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General Matter Report

Director, CSRA DEA Internet Pharmacy Initiative 07/05
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MATTER TEXT

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DATE & = UPDATED d& SUBJECT A AUTHOR &

12/07/05 12/07/05 Status Mays S.
Excessive/Suspicious Order Review policy, procedures and related forms a
complete and approved by legal. Copies saved to this matter and in CSRA
Internal Policy Manual. Matter closed pending further information.

 

12/07/05 12/07/05 Status Mays S.
Mays attended a meeting at DEA headquarters in Washington OC on
8/10/05. During the meeting DEA provided a presentation of DEAA¢??s
perception of the growing Internet Pharmacy problem in the US. DEA plan:
to bring in many of the large wholesale distributors for discussions on how
to identify illicit Internet pharmacy operations. DEA provided a binder to A
that included the presentation, past case history regarding civil and crimin
actions taken against illicit Internet Pharmacy operations, and a proposed
DEA questionnaire to be utilized for due-diligence of Internet Pharmacies.
DEA also indicated that they could take action against a distributorsA¢??
registration if they determined the registration was not in the public intere
ie. the distributor was not maintaining effective controls against diversion
controlled substances into other than legitimate medical channels.

On 9/19/05 ABC conducted a follow-up conference call with DEA to further
discuss this issue. Mary Fox, Chris Zimmerman, Steve Mays and Tom
Suddath participated in the call. DEA explained their concerns with illicit
internet pharmacies and physicians that participate in this activity. DEA is
also tooking to distributors to conduct their due diligence of custorners
purchasing large quantities of controlled substances and make a business
decision to stop supplying the customer if it is determined that they may t
involved in illegal internet pharmacy operations. CSRA is currently
developing procedures for investigating possible excessive or suspicious
purchasing activity of customers and identifying these that may be involve
in illegai activity.
07/21/05 12/07/05 Description Mays S.
On 7/21/05 Mike Mapes, DEA Director of e-commerce contacted Steve Ma’
and requested a meeting with ABC at DEA headquarters in Washington DC
to discuss Internet pharmacy issues. Mapes stated that INegal Internet
pharmacy practices are becoming widespread and DEA is looking for
cooperation from industry to address the problem.

The & or ¥ indicate sort order and/or grouping.

12/29/2005

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Gy AmerisourceBergen
EXCESSIVE SUSPICIOUS
CONTROLLED SUBSTANCES
ORDERS Policies and Procedures
Policy Number: S&RC 5.1 Effective: October 1, 2005
Written/revised by: Steve Mays / Cathy Marcum Revised: January 31, 2006
PURPOSE

To establish a process to monitor and report suspicious orders and/or unusual
transactions under the guidelines of all local, state, and federal laws and regulations
applicable to this corporation and it's Distribution Centers (DC),

POLICY

21 CFR 1301.74(b): The registrant shall design and operate a system to disclose to the
registrant suspicious orders of controlled substances. The registrant shall inform the
& Field Division Office of the Administration in his area of suspicious orders when
discovered by the registrant. Suspicious orders include orders of unusual size, orders
deviating substantially from a normal pattern, and orders of unusual frequency.

A suspicious order is any order that is of unusual size or frequency or that deviates
substantially from the normal pattern. The DCM is responsible for ensuring that all
associates are thoroughly familiar with the procedures for recognizing and reporting
such orders.

The DCM and/or Compliance Coordinator must have thorough knowledge of and be
able to articulate how, when and where their DC is reporting suspicious orders to DEA.

Reporting of suspicious orders is automated to report possible suspicious or unusual
transactions to the DEA electronically on a daily basis. The DCM or Compliance
Coordinator must review, sign and date this report on a daily basis. On a quarterly
basis, contact your local DEA office to ensure they are receiving daily reports.

It is imperative that each DCM understand that these computer reports do not relieve
them of their responsibility to report suspicious orders, especially large single orders.
Remember, the computer reports reflect sales only and do not necessarily reflect the
quantities of items ordered. It is the order that is suspicious, not the actual shipment.
Remember, all contact with DEA must be recorded on a Government Contact Form
(CSRA Form #2).

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Listed Chemicals

© Each DC must report suspicious orders and/or unusual transactions involving listed
chemicals to their local DEA office. Suspicious orders include transactions involving
"extraordinary quantities,” transactions involving an uncommon method of payment or
delivery, and any other types of sales that would indicate that the purchased product
might be used to manufacture illicit substances.

This notification should be by telephone and then followed with a written report within 15
days of notification. A Regulated Chemical Transaction Report, CSRA Form #21
must be used for this notification.

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& AmerisourceBergen
POSSIBLE EXCESSIVE/SUSPICIOUS
ORDER REVIEW Policies and Procedures
Policy Number: CSRA 2.12 Effective: December 1, 2005
Written/revised by: Steve Mays Revised:
PURPOSE

To ensure compliance with applicable state and federal regulations,
AmerisourceBergen Corporation (ABC) has designed this program to review the
ordering activity of its customers to identify the existence of possible excessive or
suspicious orders of controlled substances and listed chemical products.

POLICY

The CSRA department and Distribution Center Management will be responsible for
identifying potential excessive or suspicious customer ordering activity of controlled
substances and/or listed chemical products and will initiate appropriate investigative
steps when possible indicators of such activity are identified. As part of this effort, all
ABC Associates are expected to report to the CSRA department any information

a regarding potential excessive or suspicious orders of controlled substances and/or listed
chemical products by any ABC customer.

OVERVIEW OF PROCEDURE

Investigations into possible excessive/suspicious orders may be initiated through the
following three sources:

A. Possible Excessive / Suspicious Order Monitoring Program
B. Notification by DEA

C. Notification by Distribution Center

A.

Possible Excessive / Suspicious Order Monitoring Program

The following procedures will be conducted as part of the Suspicious / Excessive
Order Monitoring Program:

1. The CSRA department will establish appropriate guidelines and parameters of
monthly ordering activity for certain controlled substances and listed chemical
products.

2. At the beginning of each month, the CSRA department will generate a “Possible
Excessive / Suspicious Order Report” to identify ABC customers whose ordering
activity for the preceding month are in excess of the guidelines and parameters of

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monthly ordering activity established by the CSRA department. This report will be
a reviewed by a CSRA Specialist and the CSRA Manager.

3. The CSRA Manager will identify customers whose purchasing activity warrants
further review.

4. Aone year purchase history for controlled substances and listed chemical products
will be reviewed by the CSRA manager for each customer identified in step #3.

5. The CSRA Manager will consult with the appropriate DC and account manager
regarding the customer's ordering patterns. If the CSRA Manager determines that
further investigation ts appropriate, additional investigative steps will include:
a. Obtaining all agreements and contracts the customer has with ABC:
b. Obtaining a copy of the customer's file ; and
c. Utilizing ABC’s “Pharmacy Questionnaire (CSRA | Form 590), the
responsible account manager for the customer will conduct a site visit of the
customer and return the completed CSRA | Form 590 to the CSRA Manager
within one (1) week.

6. The CSRA Manager will conduct a final review with the CSRA Director after all
relevant information has been obtained in order for the CSRA Director to determine
the appropriate resolution of the investigation, which, following consultation with the
Legal Department, may include immediate cessation of sales of controlled substances
and/or listed chemical products to the customer.

7. \f sales of controlled substances and/or listed chemicals to the customer are to be
continued, such sales will be conditioned upon the customer signing one of the
following documents:

a. Non-Internet Pharmacy Agreement (CSRA | Form 590a)
b. Internet Pharmacy Compliance Agreement (CSRA | Form 590b)

Non-Internet Pharmacy Agreement

If the customer does not participate in an internet pharmacy operation, an
authorized customer representative will be required to sign a Non-Internet
Pharmacy Agreement (CRSA | Form 590a).

Internet Pharmacy Compliance Agreement

If the customer participates in an internet pharmacy in which controlled substances
are dispensed, an authorized customer representative will be required to sign an
Internet Pharmacy Compliance Agreement (CSRA | Form 590b).

8. If the customer signs the applicable agreement, the signed agreement will be
maintained in the matter file and the account will remain open and be closely

monitored.

9, If the customer declines to sign the applicable agreement, CSRA will contact the VP
/ DC Manager of the appropriate ABC distribution center and the Legal Department

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and request that the customer's ability to purchase controlled substances and listed
es chemical products be suspended immediately and indefinitely.

B. Notification by DEA
If ABC receives notice from the DEA of possibly excessive or suspicious purchasing
activity, CSRA will follow Steps 4 through 9 described above. DEA will also be notified

upon completion of the investigation and will be advised of the disposition of the
account.

C. Notification by Distribution Center

lf an ABC Distribution Center receives notice of possibly excessive or suspicious
Purchasing activity, CSRA will follow Steps 4 through 9 described above.

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AmerisourceBergen CSRA Form 590a

AmerisourceBergen Corporation

Atin: Corporate Security & Regulatory Affairs Dept.

1300 Morris Drive

Chesterbrook, PA 19087

To Whom It May Concern:

Until it provides written notice to AmerisourceBergen Corporation, ee
(“Pharmacy”) will order and dispense controlled substances in Schedules Il, Ill, IV, and V
from AmerisourceBergen Corporation for above referenced pharmacy’s walk-in patients only,
and not for Internet / Mail Order pharmacy business.

Pharmacy hereby confirms that the quantity of controlled substances ordered will not be
excessive and will be consistent with the actual demand by such patients.

Respecttully,

Signature:

ee Full Name (Print):

Title:

 

 

 

Date:

 

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AmerisourceBergen CSRA | Form 590b

eee AmerisourceBergen Corporation

AmerisourceBergen

INTERNET / MAIL ORDER PHARMACY COMPLIANCE AGREEMENT

(“Pharmacy”) agrees that it will fully comply with
the following requirements for pharmacies involved in Internet and/or Mail Order
business for dispensing of drugs. Specifically, Pharmacy agrees that prior to filling
the prescription, it will

 

* Confirm with the DEA that the prescriber has a valid DEA registration when
controlled substances are involved and that the registration is for the state
in which the prescriptions are written;

¢ Confirm with the state medical licensure authority that the prescriber is
licensed and in good standing in the state from which he/she is prescribing;

* Verify the validity of the prescription with the physician’s office by phone;

* Verify that the prescription was issued for a legitimate medical purpose by
& an individual practitioner acting in the usual course of his professional
practice:
* Adhere to all applicable laws, rules, regulations, ordinances, and guidance
of the states into which it dispenses prescriptions and the states in which it
is licensed.

Furthermore, Pharmacy agrees that if any of the following factors exist, it is best to
assume the transaction may not be valid and that Pharmacy will seek approval
from DEA and/or the appropriate state regulatory authority prior to filling the
prescription or will discontinue filling prescriptions from the physician and/or for the
patient in question:

* Numerous or excessive numbers of prescriptions written for the same
drugs, same amounts and same period of time by the same or a few of the
same physicians, most of whom are located in different states than the
patient:

e Numerous or excessive numbers of prescriptions written for controlled
substances for the same person or for various persons by the same or a
few of the same physicians, often located in different states than the patient;

¢ Numerous prescriptions written by the same or a few of the same

& physicians for patients who are all or nearly all in other states.
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© Pharmacy also acknowledges that AmerisourceBergen is required by 21 CFR
1301.74(b) to report suspicious orders of controlled substances to the Field
Diversion Office of the DEA and AmerisourceBergen may provide a copy of this
Agreement to the DEA or any other state or federal agency, entity, authority or
board.

Pharmacy agrees that any failure to comply with this Agreement may result in
AmerisourceBergen immediately terminating its Prime Vendor Agreement and/or
relationship, in whole or in part.

Agreed to by a duly authorized officer, partner, or principal of Pharmacy.

Signature:

 

Full Name (print):

 

 

 

Title:
Date: -
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AmensourceBergen Corporation CSRA | Form 590

PHARMACY QUESTIONNAIRE
A. DECISION QUESTIONS (To be completed during on-site visit)

1. Customer Name:

 

2. Customer Address:

 

3. Customer DEA #:

 

4, Has the distributor physically inspected the pharmacy? Yes No

5. Does the pharmacy have any other licensure (wholesale, repackager, etc...)?
Yes No If so, obtain copies.

6. Does the pharmacy accept walk-in customers?
Yes No If so, what percentage of total business? fo

7. Is the pharmacy licensed for sales in all required states? Yes No

 

8. Which state(s) does the pharmacy ship into?

 

9. Are Prescriptions written by physicians located in the State in which the patient resides?

Yes No
£3 10. Does the pharmacy purchase a wide range of drug products from the distributor?
Yes No

11. Do controlled substances constitute an unusually large percentage of the pharmacy's
purchases? Yes No If so, what percentage? fo

12. Has the pharmacy requested to pick up (Will Call) orders rather than have them delivered?
Yes No

13. 1s the pharmacy ordering more than 3,000 dosage units of phenetermine a month?
Yes No If so, how much and why?

 

14. Is the pharmacy ordering more than 5,000 dosage units of hydrocodone combination
products a month? Yes No If so, how much and why? __
15. Is the pharmacy ordering more than 5,000 dosage units of Alprazolam a month?
Yes No lf so, how much and why?

 

16. Does the pharmacy have a web site or are they related to a web site?
Yes No

17. 1f the pharmacy has a web site or is related to a web site:

a. What is the address?

 

| b. Are reasonable retail prices listed on the web site? Yes No
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AmensourceBergen Corporation CSRA | Form 590

& c. Is there a patient medical history questionnaire on the web site? Yes No

d. Does the prescribing doctor perform a physical exam of each patient?
Yes No

e. Does the web site accept third party payment (i.e. insurance) for Internet
prescriptions? Yes No

f. Does the web site offer to sell drugs without a prescription?

Yes No
18. fs the pharmacy VIPPS (Verified Internet Pharmacy Practice Sites™) certified? Yes No
19. Does a third party pay the distributor for the drugs? Yes No

20. Attach photograph of pharmacy building (inside & outside).

OTHER COMMENTS/OBSERVATIONS:

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